Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2333       Page 1 of 65
                                  Sentencings • Wednesday, July 18, 2018
                                                                                                 1

     1                          UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
     2                                SOUTHERN DIVISION
     3
          UNITED STATES OF AMERICA,
     4
                               Plaintiff,
     5    vs.
                                                         Case No. 17-20632
     6    D-3 BRET MASSEY                                Case No. 18-20128
          D-5 WILLIAM T. PHILLIPS                        Hon. Stephen J. Murphy, III
     7
                            Defendants.
     8    ______________________________/
     9                                        SENTENCINGS
    10                BEFORE THE HONORABLE STEPHEN J. MURPHY, III
                              United States District Judge
    11                   Theodore Levin United States Courthouse
                              231 West Lafayette Boulevard
    12                          Detroit, Michigan 48226
                                Wednesday, July 18, 2018
    13
          APPEARANCES:
    14
          For the Plaintiff                     APRIL NICOLE RUSSO
    15    United States of America:             KEVIN MULCAHY
                                                LESLIE W. FISHER
    16                                          United States Attorney's Office
                                                211 W. Fort Street
    17                                          Suite 2001
                                                Detroit, Michigan 48226
    18                                          313-226-9129
    19    For the Defendant                     SANFORD PLOTKIN
          D-3 Bret Massey:                      Sanford Plotkin, P.C.
    20                                          538 N. Division Street
                                                Ann Arbor, Michigan 48104
    21                                          248-798-5756
    22    For the Defendant                     LISA L. DWYER
          D-5 William Phillips:                 400 Monroe Street
    23                                          Suite 280
                                                Detroit, Michigan 48226
    24                                          313-962-0000
    25



                         USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2334       Page 2 of 65
                                  Sentencings • Wednesday, July 18, 2018
                                                                                                 2

     1         To obtain a certified copy of this transcript, contact:
                   Linda M. Cavanagh, CSR-0131, RDR, RMR, CRR, CRC
     2                         Official Court Reporter
                      (313) 234-2616 • www.transcriptorders.com
     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25



                         USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2335       Page 3 of 65
                                  Sentencings • Wednesday, July 18, 2018
                                                                                                 3

     1                                   TABLE OF CONTENTS
     2                                                                                  Page
     3    SENTENCING AS TO D-3 BRET MASSEY:
     4    Allocution by Mr. Plotkin............................8
          Allocution by Defendant Massey......................15
     5    Allocution by Mr. Mulcahy...........................17
          Comments/Sentencing by the Court....................23
     6
          SENTENCING AS TO D-5 WILLIAM T. PHILLIPS:
     7
          Allocution by Ms. Dwyer.............................38
     8    Allocution by Defendant Phillips....................45
          Allocution by Ms. Russo.............................48
     9    Comments/Sentencing by the Court....................56
    10
                                                EXHIBITS
    11
          Identification                                          Offered          Received
    12
          Government Exhibits G and H,                                                  7
    13    Victim Impact Statements
    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25



                         USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2336       Page 4 of 65
                                  Sentencings • Wednesday, July 18, 2018
                                                                                                 4

     1               Detroit, Michigan
     2               Wednesday, July 18, 2018
     3                                          _ _ _
     4               (Proceedings commenced at 11:53 a.m., all parties
     5               present)
     6               THE CLERK: Court calls Case No. 17-20632, United
     7    States of America versus Bret Massey and William T. Phillips.
     8               Counsel, please state your appearances for the
     9    record.
    10               MS. RUSSO: Good morning, Your Honor. April Russo,
    11    Kevin Mulcahy and Leslie Fisher on behalf of the United States.
    12               MR. PLOTKIN: Sanford Plotkin with Mr. Massey.
    13               MS. DWYER: Your Honor, good morning. Lisa Dwyer
    14    appearing on behalf of William Phillips.
    15               THE COURT: Okay. Good morning. Welcome to
    16    everybody and go ahead and have a seat.
    17               We don't have much morning left. We are continuing
    18    to progress through a total of sentences on six cases. We had
    19    four yesterday and two more today. The case is 17-20632 and
    20    Mr. Massey is going to go first?
    21               MR. PLOTKIN: We can, that's fine.
    22               THE COURT: Okay. All right. Let me invite Mr.
    23    Plotkin and Mr. Massey to come on up to the microphone.
    24               MR. PLOTKIN: Thank you.
    25               THE COURT: Thank you.


                         USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2337       Page 5 of 65
                                  Sentencings • Wednesday, July 18, 2018
                                                                                                 5

     1               MR. PLOTKIN? Any preference which side Mr. Massey
     2    is?
     3               THE COURT: No preferences. I'm a guest here so...
     4               MR. PLOTKIN: Thank you. So are we.
     5               THE COURT: Yeah. All righty.
     6               MR. PLOTKIN: Well, the marshal has spoken.
     7               THE COURT: Mr. Massey, have you had an opportunity
     8    along with Mr. Plotkin, your lawyer, to read the Pre-Sentence
     9    Report along with any revisions that might have been made to it
    10    after it first came out?
    11               DEFENDANT MASSEY: Yes, Your Honor.
    12               THE COURT: Okay. Very good. The report came out
    13    initially on March 1. It does not look as if there were any
    14    significant modifications made to it. Neither the United
    15    States nor the defendant through Mr. Plotkin lodged any
    16    objections to the -- to the report, and I would simply ask you
    17    now, Mr. Plotkin, whether or not you want to make any
    18    corrections, augmentations or objections to the report that's
    19    on file.
    20               MR. PLOTKIN: No, Your Honor.
    21               THE COURT: Okay. Very good. Mr. Mulcahy, are you
    22    comfortable with the terms of the probation officer's report as
    23    well?
    24               MR. MULCAHY: We are, Your Honor. We have no
    25    objections.


                         USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2338       Page 6 of 65
                                  Sentencings • Wednesday, July 18, 2018
                                                                                                 6

     1               THE COURT: All right. Very good. The Court will
     2    find that the total Offense Level is 43, the Criminal History
     3    Category is I, and the guideline range at that level is life in
     4    prison. The guideline provisions in the Plea Agreement are the
     5    same, so the terms of the Pre-Sentence Report along with the
     6    factual findings of the Probation Department will be those of
     7    the Court for purposes of this hearing only.
     8               And I know Mr. Plotkin was present for quite a few of
     9    our sentences yesterday. We did have extensive victim
    10    testimony. I have looked at a large book of victim impact
    11    statements. And I would just ask the United States Attorney
    12    whether or not we're going to be considering any victims'
    13    testimony or other matters who are present today.
    14               MR. MULCAHY: There are no victims present today who
    15    have not already testified before Your Honor. However, last
    16    night we did receive two additional victim impact statements.
    17    They are both been given to Mr. Plotkin as well as Ms. Dwyer
    18    and I've copies for the Court if I could tender them at this
    19    time.
    20               THE COURT: Yes. If you want to bring those up to
    21    Mr. Parker, that'll be fine. And those are relevant to the
    22    entire enterprise and Mr. Massey as well I take it, correct?
    23               MR. MULCAHY: That is correct, Your Honor.
    24               THE COURT: Okay.
    25               MR. MULCAHY: And beyond those two additional victim


                         USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2339       Page 7 of 65
                                  Sentencings • Wednesday, July 18, 2018
                                                                                                 7

     1    impact statements and the folks that the Court heard from
     2    yesterday and the letters the Court has received, that is the
     3    entirety of our victim information at this time.
     4               THE COURT: All right. So those are from MV-31 and
     5    MV-61. They've been given to the defense attorneys. They're
     6    Exhibits G and F [sic] for purposes of this sentencing and I
     7    will receive them for that purpose as well as for Mr. Phillips'
     8    sentencing as well.
     9               Now, the Preliminary Order of Forfeiture was
    10    presented in the case earlier. As I mentioned yesterday, I
    11    reviewed that at length and I also heard from Mr. Ross. All
    12    six attorneys who were present yesterday agreed that they had
    13    signed off on the forfeiture language that will go into the
    14    Judgment and Commitment Order, so forfeiture will not be an
    15    issue as to this sentence.
    16               I find that there's no reason to impose a fine given
    17    the nature of Mr. Massey's financial resources as well as the
    18    restitution order that will likely be in place.
    19               No fine or costs of incarceration will be ordered.
    20               There is an agreement that each defendant in this
    21    particular case pay a $5,000 -- who's convicted that is -- pay
    22    a $5,000 restitution award to each victim in the case for a
    23    total of $215,000 in this.
    24               MR. MULCAHY: That's correct, Your Honor.
    25               THE COURT: Okay. So we'll enter a -- by agreement a


                         USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2340       Page 8 of 65
                                  Sentencings • Wednesday, July 18, 2018
                                                                                                 8

     1    restitution award in that amount.
     2               I will not be entertaining -- or will I be? Did you
     3    make a 5K motion on this particular defendant?
     4               MR. PLOTKIN: Yes, they did.
     5               MR. MULCAHY: Yes, we did, Your Honor.
     6               THE COURT: All right. Okay. That's what I thought.
     7    I didn't get into the specifics yet. So I was going to say
     8    there are no grounds for a departure but there may very well
     9    be.
    10               So what I will do is simply inform the parties that I
    11    received Mr. Massey's sentencing memorandum that was written by
    12    Mr. Plotkin. I've also looked at the sentencing memorandum of
    13    the United States. And notwithstanding what I may have just
    14    indicated, I am familiar with the memorandum in support of a 5K
    15    substantial assistance downward departure, and I, based on the
    16    representations made in it, will grant that now.
    17               I don't believe I have any further letters or other
    18    materials from Mr. Massey. There is a separate agreement that
    19    we all know about and that's it.
    20               I would therefore consider the record complete and
    21    the way clear for Mr. Plotkin to make any remarks he'd like to
    22    issue on behalf of his client as to the appropriate sentence,
    23    statements in mitigation or anything else at this time. Go
    24    right ahead.
    25               MR. PLOTKIN: Thanks. Your Honor, I did sit through


                         USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2341       Page 9 of 65
                                  Sentencings • Wednesday, July 18, 2018
                                                                                                 9

     1    three of the four sentencings yesterday. As a result, I know
     2    what Your Honor has heard, saw, seen, considered, and I'm not
     3    going to repeat a lot of my colleagues' arguments. I thought
     4    they were very well said yesterday.
     5               I thought some of these issues, they -- they -- they
     6    apply to Mr. Massey. I think Mr. Korn and some others talked
     7    about considerations for variance based on age. I spent a deal
     8    of my memorandum to this Court discussing that issue, and I'm
     9    not going to be a broken record vis-a-vis my sentencing
    10    memorandum.
    11               I've suggested to the Court numerous reasons to vary
    12    from the advisory guideline range, but the fact is, as you
    13    stated a couple minutes ago, you did just grant a motion for a
    14    downward departure. Mr. Massey's cooperation, according to the
    15    government, if I read it right, and if I didn't I'm sure
    16    they'll correct me, but my understanding is that, number one --
    17    and I just want to talk about that for a minute before I get to
    18    more personal issues.
    19               The cooperation, when he was arrested, he sat down in
    20    a car with some agents in May outside his house and gave a
    21    recorded statement that I don't know if it was a couple hours
    22    long but it was very comprehensive, it was voluntary, it was
    23    without counsel, it was his own initiative, and it was really
    24    an effort at that moment to start helping the government make
    25    some sense of this and to fill in gaps in their investigation


                         USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2342       Page 10 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  10

     1     which would continue, at least his attempts, as soon as he got
     2     to Detroit, Your Honor.
     3                Now, based on what he was able to do, I think it
     4     aided in some complaints and search warrants which may yield
     5     more defendants who've been involved in this, which anything
     6     would be helpful because these people are all around the world
     7     is my understanding, and if Mr. Massey was able to even
     8     identify or help make a case on an additional defendant or two,
     9     I think it's a tremendous help based on the numbers the
    10     government talks about in terms of victims being affected by a
    11     given defendant. So clearly that 5K motion is made in earnest.
    12                Now, the cooperation in the car to me also suggests
    13     his state of mind. Listen, I've been doing this for 32 years.
    14     I know when a client's defiant and gives the finger to law
    15     enforcement, and I know when a client sits down and the first
    16     thing they do is give a two-hour recorded statement. And also
    17     he pointed out where a hard drive was in his apartment
    18     underneath -- I'm not saying it was secreted, but if he hadn't
    19     told them exactly how to find it, there's a good chance there'd
    20     be a hard disk with a lot of material never recovered by law
    21     enforcement. And he knew that at the time and that's exactly
    22     why he directed them to this specific hard drive, again I think
    23     showing an attempt to do what he could at that point subsequent
    24     to all this horrendous conduct.
    25                Now, on a personal note -- so that's -- Court's aware


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2343       Page 11 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  11

     1     of the cooperation. The Court has the 5K, the Court's granted
     2     the 5K. The Court has read my memorandum. I talk about
     3     reasons for variance. I talk about this particular guideline.
     4     I talk about Mr. Massey's age. I talk about why there's a lot
     5     of support for the fact that he probably won't re-offend, but I
     6     want to take a different tact than the Court heard yesterday.
     7     You've heard all the legalese. I'm not going to repeat it.
     8                When I sat there yesterday, Your Honor, there were a
     9     lot of things going through my head listening to these victims,
    10     listening to the stories that come from this case and the
    11     defendant's conduct, and at some point I found myself
    12     reflecting back on things that happened in my household growing
    13     up. There were things that happened in my house that happened
    14     unfortunately in a lot of houses.
    15                What I will say is this. Watching my family grow up
    16     over the years and seeing how events affect family members and
    17     what helps family members' health, at the end of the day, the
    18     cold reality is its access to mental health treatment.
    19                Now, this case calls for life in prison. I get it.
    20     I get exactly -- and my opening in my memorandum I hope made
    21     clear to the Court I understand exactly what has gone on with
    22     the victims, and of course our hearts go out to their trauma.
    23     But the reality is at some point excess incarceration will not
    24     alleviate the trauma. What is desperately needed is mental
    25     health treatment.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2344       Page 12 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  12

     1                Now, as a sad aside, in our country it's too bad we
     2     don't value mental health treatment a little more and get some
     3     of the insurance gatekeepers out of the way.
     4                But be that as it may, I think that if restitution
     5     could be made, I don't know how realistic it is, but that's
     6     probably one of the best benefits of this prosecution as well,
     7     to help victims get treatment that they desperately need as a
     8     result of what happened to them by the defendants.
     9                Now, punishment's necessary. Punishment serves a
    10     purpose.
    11                THE COURT: Right.
    12                MR. PLOTKIN: Feeling validated, being heard,
    13     allowing society to see the pain inflicted, that's vital. I do
    14     understand that.
    15                I also feel at the same time that you take a man like
    16     Bret Massey. I don't know if the Court really -- I guess my
    17     biggest frustration this morning, Your Honor, is I really don't
    18     know if I can convey my sense of Mr. Massey to this Court or to
    19     the prosecution or to the victims. I said in this memorandum a
    20     very strong statement, that he orchestrated his self-
    21     destruction through his participation in this case. I -- I
    22     tried to articulate my reasons. I didn't pull that out of thin
    23     air.
    24                THE COURT: Right.
    25                MR. PLOTKIN: I spent a lot of time with Bret Massey.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2345       Page 13 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  13

     1     I spent a lot of time on the phone with Allen Massey, his
     2     father. I've reached my conclusions. I feel in my heart of
     3     hearts that Bret Massey's work is done. He's done himself in.
     4     He self-destructed. He destroyed what could have been a
     5     promising future. He's lost a chunk of his family. He's lost
     6     his friends. He's lost his career. He's lost his sense of
     7     self, what could have been a promising self, and he destroyed
     8     it for tragic, tragic reasons. He took out a rage on all the
     9     wrong people.
    10                THE COURT: Yeah.
    11                MR. PLOTKIN: And he caused a lot of harm in his --
    12     and left a lot of trauma in his wake, and he knows that and
    13     he'll speak to that in a minute.
    14                But I guess my point is this. And let me just say
    15     one short thing and I'll get to the -- to the bottom line,
    16     Judge. But victim trauma, another thing that crossed my mind
    17     yesterday -- well, I'm not going to go there.
    18                I understand the passion for the utmost punishment in
    19     a case like this, but like I said, I think at the end, you
    20     gotta guy pushing 50, 20 years is a long time. When I look
    21     back on 20 years, there's a lot of life lived in -- in a
    22     20-year period. And it's gone, Bret Massey's future is gone,
    23     his life is over. If the Court gives him the mandatory minimum
    24     of 240 months, his life's over. He did that, he did it to
    25     himself, he knows that. And I guess I have a serious question


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2346       Page 14 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  14

     1     as to what is achieved. Is it really not sufficient, is the
     2     mandatory minimum not sufficient? Your Honor will answer that
     3     question momentarily.
     4                I suggest that his motivation for doing what he did
     5     is complete. I don't see this ever happening again. And the
     6     question is can all of these needs be satisfied by a 20-year
     7     sentence, and I suggest they absolutely can. And I understand
     8     why the Court may well go higher, I get it.
     9                But again, in my heart of hearts, I want to leave you
    10     on this note. Bret Massey did this for reasons I've discussed,
    11     and when they got to his door, it really shut down his
    12     operation, his motivations. His father will be dead when he
    13     gets out of prison, probably before, possibly true with his
    14     mother. What -- what pushed him in this case so tragically is
    15     gone.
    16                Now, how do I wrap this up? I guess I -- I'd just
    17     ask the Court to -- to blend in the 5K along with what I did
    18     discuss in the memorandum, which I stand by, and to give
    19     serious consideration to how much is enough. And to keep
    20     society safe, to punish, to satisfy victims, in my heart I
    21     truly know it can be done with a 20-year sentence. I say that
    22     knowing that for other reasons the Court may not find that
    23     sufficient, but I sure do.
    24                And I -- I really appreciate your -- your
    25     consideration in all these yesterday and today. Thanks.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2347       Page 15 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  15

     1                THE COURT: I have a great deal of regard for you,
     2     Mr. Plotkin, and I have a great deal of respect for the work
     3     that you do, and your memorandum was, as expected, honest,
     4     forthright and compelling.
     5                I also wove into what you had to say about your
     6     client the nature of the personal section of the Pre-Sentence
     7     Report, so I agree and under -- agree with and understand much
     8     of what you -- what you say, and thank you for your hard work
     9     as always.
    10                MR. PLOTKIN: Thank you.
    11                THE COURT: Mr. Massey has the opportunity on his own
    12     behalf to make any statements about the -- the sentence, the
    13     circumstances, mitigating factors or anything else. Go right
    14     ahead, Mr. Massey.
    15                DEFENDANT MASSEY: Thank you, Your Honor.
    16                First I'd like to apologize to the victims and the
    17     families. I -- I -- I can't know what they went through. I
    18     can't know what they're going through. I can't know what
    19     they're going to go through. I know the apologies may seem a
    20     bit hollow because we were stopped because we were caught.
    21     We're apologizing because we were caught. If we hadn't been
    22     caught, who's to say we wouldn't still be doing it today. I'm
    23     glad we were caught. We've been stopped.
    24                On a personal note, I've -- I've dishonored
    25     everything I ever was. I have lost every friend I've ever had,


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2348       Page 16 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  16

     1     and the only person I could probably talk to frankly would be
     2     my sister. And my future is over and that's okay, that's fair.
     3                What I did I believe to be worse than what the others
     4     in the group did. It is deeply ingrained in me to know -- to
     5     know right from wrong, to look out for people, and I didn't, I
     6     didn't.
     7                The people in the back of the room who are not here
     8     today from yesterday probably see me as a monster and that's
     9     also fair. That's -- that's what I've become, I've become the
    10     monster. I did it. I believe that's who I will be for rest of
    11     my life.
    12                And that's all I have to add, Your Honor. Thank you.
    13                THE COURT: Okay. Thank you very much, Mr. Massey.
    14     I appreciate your words which I can tell are sincere as well.
    15                Now, Mr. Mulcahy has risen on behalf of the
    16     government, and obviously on behalf of the citizens of the U.S.
    17     Mr. Mulcahy has the right to speak.
    18                I was going to ask you, because I was flipping
    19     through here, there's not a lot -- maybe I'm wrong, and if I
    20     am, you correct me, but it doesn't seem like there's a lot of
    21     detail in the memo I have in front of me. It was filed on the
    22     10th of July regarding the government's motion. Is there
    23     somewhere in the -- or a page number where I ought to look?
    24                MR. MULCAHY: Your Honor, there's -- I tend to agree
    25     with you, there's not a lot of detail about the cooperation of


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2349       Page 17 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  17

     1     Mr. Massey except -- and I intend to provide some in a moment.
     2                THE COURT: That's fine.
     3                MR. MULCAHY: Um --
     4                THE COURT: That's fine.
     5                MR. MULCAHY: Okay.
     6                THE COURT: I was going to say, you know, if you're
     7     going to speak, but I was -- I was trying to read -- read
     8     anything, and -- and if there's not a lot of writing, that's
     9     understandable and fine, but I am interested obviously in
    10     your -- your grounds. And I know your recommendation is to
    11     come down from life sentence, lower than 50, lower than 40, to
    12     35 years to help accomplish the goals of 3553 and to support
    13     your motion, so I'm -- I'm aware of all that, but you know
    14     where we're at and you can go right ahead.
    15                MR. MULCAHY: Thank you, Your Honor.
    16                And for purposes of the -- of the record, I would
    17     incorporate all of yesterday's proceedings, the victim
    18     statements, all of the arguments of counsel and the Court's
    19     thoughts in every sentencing that was there yesterday and pay
    20     them all forward today. And so I won't spend time talking
    21     about the enterprise. I won't spend much time frankly talking
    22     about the victims because we've -- we've spoken about them and
    23     we've heard from them and I can't improve on what they said.
    24                But instead, I'm just going to say just a few minutes
    25     worth about Mr. Massey, and I want to talk about three things,


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2350       Page 18 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  18

     1     Your Honor. First is what -- what part he played. I think
     2     it's fair for -- as the Court decides the appropriate sentence,
     3     it heard about each and every defendant yesterday and some of
     4     the -- the role that they played and I'll provide that to the
     5     Court.
     6                Second is a bit of a response to some of the
     7     mitigation made both today by Mr. Plotkin as well as in his
     8     sentencing memorandum.
     9                And then lastly, ultimately what the government's
    10     recommendation is and how we landed on 35 years.
    11                So first let me start with Mr. Massey's role. Like
    12     others in the group, he was an active talker. The recovery of
    13     his devices yielded over 15,000 child exploitive images and
    14     videos, over 7500 child pornography videos; it was over
    15     1900 hours of content.
    16                Yesterday I talked at length about the -- how the
    17     enterprise collaborated, how they strategized and schemed
    18     through various Skype chats. A search on those Skype chats
    19     yielded that Mr. Massey made about 50,000 comments through the
    20     life of this group. These were his friends, these were his
    21     cohorts, and he spent his time and energy talking to them at
    22     length.
    23                Now, Mr. Massey I will say, to -- to down that number
    24     a bit from 50,000, not much but a bit from 50,000, was a bit
    25     more social than some of the others about the content. He


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2351       Page 19 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  19

     1     talked about politics and soccer and sports and Marine Corps
     2     and other things like that, but the overwhelming majority of
     3     the comments were the sexual exploitation of these girls. He
     4     was a member of this group for about three years, and according
     5     to the login information from Website A, if you averaged out
     6     the number of chat rooms he logged in to, it would be about 18
     7     per day.
     8                So I say all that, all of that math to say that Mr.
     9     Massey was a very active member of this group. As a very
    10     active member, his role was principally in talking to the
    11     girls, and he did loop occasionally but he was mainly a talker
    12     with the girls. Mr. Massey's view on talking to the girls was
    13     he would speak frequently with them, and we have recovered
    14     Skype chats where Mr. Massey was challenged by at least one
    15     other Skype Group member and -- and sort of I guess reprimanded
    16     for talking too much to some of the girls, and Mr. Massey's
    17     response, which I included in my sentencing memorandum, was "I
    18     like to fill in the silence to keep the girls sort of
    19     interested," again in advancing the -- the scheme that they
    20     were doing here.
    21                One of the things that makes Mr. Massey different
    22     than his others though, while it hurt him and it hurt the group
    23     as far as evidence goes, it helped him in the sense of his
    24     cooperation. Mr. Massey kept thousands of videos as we talked
    25     about of child pornography from Website A and Website B, but


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2352       Page 20 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  20

     1     within that he kept not just the girls undressing or the girls
     2     engaged in sex acts, he kept the chats themselves. And it's
     3     important for two reasons:
     4                First, because he kept the chats and he recorded the
     5     chats as well as the videos, he -- there was quite a bit of
     6     evidence recovered on his computer that the government could
     7     use, and it's part of the reason why he's been given such a
     8     generous 5K in this case.
     9                And but before I get to that, I would say the other
    10     thing that's important is Bret Massey's sexual interest in
    11     teenage girls stems not simply from viewing their exploitation
    12     but also the enticement and the luring that leads up to it. In
    13     his own words he says, "I like to remember what she is reacting
    14     to." That is particularly troubling frankly for Mr. Massey and
    15     his hopes of not repeating should he return to society.
    16     Because that enticement is luring, that kind of enticement
    17     requires one-on-one or group-on-one interactions with real
    18     girls, I'm not sure pictures and videos will do it for Mr.
    19     Massey and that is a concern of ours.
    20                I indicated earlier that he was an aggressive talker,
    21     and I've provided just a couple of examples here and it's the
    22     last I'll say about his role in the offense. He sort of mocked
    23     some of these girls about being suicidal or cutting themselves.
    24                And as far as age of the victims go, one of the -- a
    25     different offender in this group, the one who has not yet been


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2353       Page 21 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  21

     1     sentenced, suggested to the group on a Skype chat that "we
     2     needed some 12-year-old twins to liven this place up," to which
     3     Mr. Massey replied, "I like the way you think."
     4                He had a video or described a video he was sharing
     5     with the group of a girl he described as negative seven, which,
     6     as Your Honor knows, is how they refer to age away from 18, so
     7     that means that was an 11-year-old girl.
     8                So I say that, all of that, to sort of put Mr. Massey
     9     on a level playing field with the others that you heard
    10     yesterday and that offering to the Court his conduct in this
    11     case. He was right in the center of it all.
    12                But as a result -- but I'll pivot from there to talk
    13     about his cooperation, and I want to give the Court more
    14     information than we gave in our written memorandum as to why
    15     Mr. Massey deserves a 5K in this case. As I indicated, he kept
    16     videos, thousands of them, with the chats included, and while
    17     that was disturbing as far as Mr. Massey's sexual interests in
    18     children, it was helpful in that it provided realtime dialogue
    19     that we could replay with what the victims saw and heard so
    20     that we could show that these victims were told what to do when
    21     they were sexually exploited. That proved very meaningful.
    22     Mr. Massey was forthcoming about those videos and where we
    23     could find them and told us what we would find. Virtually
    24     everything Mr. Plotkin said on this point is true.
    25                We used Mr. Massey's statements both in Maine and


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2354       Page 22 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  22

     1     back here in Detroit when we sat down with him in search
     2     warrants. We used them in complaints and we used them sort of
     3     in going forward, including recently as we made further arrests
     4     in this case. In other words, he proved to be one of the most
     5     significant cooperators of the group, which is why he's been
     6     rewarded with this 5K. His information plus what was found on
     7     his computers have led us to further the probable cause that
     8     led to search warrants and complaints.
     9                And so that is -- and I also believe frankly that Mr.
    10     Massey would have been willing and able to testify should that
    11     need have arisen or had arisen. And so for those reasons we
    12     made the 5K recommendation for him.
    13                Beyond his cooperation though, the other mitigation,
    14     with -- with due respect to -- to Mr. Plotkin, I think is
    15     somewhat unmoving. I -- I recognize that Mr. Massey is 47,
    16     about to be 48 later this year. A 20-year sentence with good
    17     time credit, which I'm sure Mr. Massey will do his best to --
    18     to earn, will get him out right around his 65th birthday. In
    19     this courtroom, this courthouse has seen several child
    20     exploitation offenses by individuals in their 60s and even 70s,
    21     that is not uncommon. A 20-year sentence would not protect the
    22     public in our view.
    23                So the question about what is to be achieved from
    24     something of more than 20 years, Mr. Massey's significant
    25     interest, sexual interest in children will last longer than the


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2355       Page 23 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  23

     1     17 and a half years he would get should the Court impose the
     2     mandatory minimum. And even though the government recommends a
     3     variance in this case, a variance down to 35 years will still
     4     give him life after prison. If he gets credit for good time,
     5     by my calculations at least, he will be out in his mid-70s and
     6     still have a life after the fact going forward.
     7                And so the issues about Mr. Massey's father, I wasn't
     8     privy to the phone calls that Mr. Plotkin was. I think some of
     9     those issues, frankly they just don't amount to a reason or
    10     justification or really an explanation as to why Mr. Massey
    11     chose this life for himself and painted this future for
    12     himself.
    13                So with -- with those mitigation, Your Honor, we
    14     don't think that they amount to a variance, but Mr. Massey's
    15     conduct deserves a life sentence. We said that in our
    16     sentencing memo and we stand by that now. He was at the center
    17     of it all. He has a sexual interest in teenage and preteen
    18     girls. But he really stepped up, and as a result of his
    19     cooperation the government recommends 35 years in custody.
    20                THE COURT: Okay. All righty. Thank you very much.
    21                I am going to talk about some of the 3553(a) factors
    22     and I'm going to justify the sentence that I intend to give and
    23     then I'm going to state the sentence I intend to give and I'm
    24     going to give both the lawyers an opportunity to speak about
    25     it, object to it if necessary.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2356       Page 24 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  24

     1                I mean the -- the -- the number one thing for this
     2     judicial officer that leaps off the page of the Pre-Sentence
     3     Report is the service obviously that Mr. Massey gave to our
     4     country as a member of the Marine Corps and the son of a member
     5     of the Marine Corps as well.
     6                I saw a, you know, a Princeton educated Ph.D. here
     7     yesterday and we have a marine officer here today, and we've
     8     had, you know, professors and priests. And, you know, I can
     9     only imagine that in terms of motivation, the serious mental
    10     health issues that Mr. Plotkin points out along with Mr.
    11     Mulcahy's puzzlement that leads to this type of thing would
    12     result in me concluding that the impulses and the addictive
    13     qualities of this type of behavior must be so incredibly strong
    14     that you're -- you're willing to basically give up everything.
    15                I've tried to fashion sentences that have been both
    16     consistent across the board in terms of the amount of activity,
    17     the protection of the public, the fear that the victims have
    18     that this will happen to them again, along with the amount of
    19     involvement in the enterprise and to temper that with some
    20     sense of I think I used the term mercy yesterday. None of
    21     these folks have prior criminal conduct and each one of them
    22     has some reason for why they likely got involved in this.
    23     Whether they know what that reason is or not, I think there's
    24     things that competent mental health professionals could --
    25     could point to.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2357       Page 25 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  25

     1                 I would have -- I -- I -- I say that all as
     2     background that I found the fellow from California, name on the
     3     tip of my tongue, who had moved to Reno among the most active.
     4     There's another individual, I forget his name, who was more
     5     active. And I -- I don't know that I did this by design, but I
     6     look today at the fact that every sentence I gave yesterday was
     7     over 400 months, and for those two it effectuated sentencings
     8     of 36, 37 years, 444 months and -- and beyond.
     9                 I would have probably had Mr. Massey in that general
    10     range, and the reason that -- the reason I -- I would have done
    11     that is from reading everything and by his own admission, I
    12     think Mr. Massey was involved heavily. And -- and by the way,
    13     I don't hold the own admission by Mr. Massey about his
    14     involvement against him. I think that's actually quite a good
    15     thing as we don't see a whole lot of -- a whole lot of honesty
    16     frequently at these types of affairs. But -- but anyway,
    17     the -- the sentence has to be fashioned with what happened at
    18     the time.
    19                 With all that in mind, I think I would grant a -- a
    20     384-month sentence, which would be five years off of -- which
    21     would be five full years off of the sentence of the fellow from
    22     California, Terry -- what's his name, Mr. Mulcahy?
    23                 MR. MULCAHY: Terry Kovac, Your Honor, Terry Kovac.
    24                 THE COURT: Kovac. So assuming Mr. Massey and Mr.
    25     Kovac were similarly situated, and I do believe in looking at


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2358       Page 26 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  26

     1     the file they mostly were, five years off of that would be
     2     appropriate for a -- a -- a 5K motion based on substantial
     3     assistance, which, as Mr. Mulcahy said, was limited by the fact
     4     that the individual was in custody when he gave the assistance,
     5     which didn't involve testimony or active work but which did
     6     substantially aid the United States in obtaining all the
     7     evidence necessary to round up, prosecute and address all the
     8     people who were indeed involved.
     9                I think I owe it to Mr. Plotkin to -- he's been very
    10     honest with me and I'll be very honest with you all. Why not
    11     20 years? And there's just a sense of me as a person that
    12     the -- the mandatory minimum, while it -- it would certainly
    13     effectuate all the sentencing factors that I'm concerned about,
    14     which would be rehabilitation, safety of the public and
    15     deterrence, would -- just doesn't go far enough. I think this
    16     is among the most severe sort of enterprises, criminal
    17     enterprises that -- that we've seen here, and I think that the
    18     most drastic punishment is necessary and I just don't feel
    19     comfortable going to the bottom end.
    20                I -- I -- I do think some mercy and the opportunity
    21     for these folks to end life out of prison and contribute and
    22     redeem is -- is desirable, but there's a sense in me that the
    23     bottom end of the statutory prison range that was established
    24     by Congress would be too low. So that's the reason for the
    25     sentence and it's what I would intend to impose now.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2359       Page 27 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  27

     1                So therefore, it's the judgment of the Court,
     2     pursuant to the Sentence Reform Act of 1984, having considered
     3     all the sentence guidelines and factors in 18 USC, Section
     4     3553(a), that the defendant, Bret Massey, be sentenced to the
     5     custody of the Bureau of Prisons for a term of 384 months.
     6                It's further recommended that the defendant be
     7     designated to an institution with a comprehensive sexual
     8     offender treatment program.
     9                Upon release from imprisonment, the defendant shall
    10     be placed on supervised release for 10 years.
    11                The defendant shall pay a special assessment of a
    12     hundred dollars. That will be due immediately.
    13                It's ordered that the defendant pay a Justice For
    14     Victims Traffic Act, JVTA, assessment of $5,000.
    15                The Court's aware that the parties agree to a
    16     restitution amount of $5,000 per identified victim for a total
    17     of $215,000. No interest, penalties or fees on the restitution
    18     amount.
    19                The Court will waive the imposition of a fine, costs
    20     of incarceration and supervision as I mentioned earlier due to
    21     Mr. Massey's negative cash flow and lack of overall financial
    22     resources.
    23                However, while in custody, Mr. Massey must
    24     participate in the Inmate Financial Responsibility Program,
    25     IFRP. I am well aware of the requirements of that program and


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2360       Page 28 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  28

     1     approve the payment schedules of the program and hereby order
     2     the defendant's compliance.
     3                Mandatory drug testing will be ordered on supervised
     4     release in light of the history with alcohol noted in the
     5     report.
     6                While on supervision, Mr. Massey must abide by the
     7     standard conditions adopted by this Court regardless of where
     8     he resides, and he also must comply with the following special
     9     conditions. I'm going to summarize them since they were
    10     completely put on the record at least once yesterday and
    11     they'll be completely set forth in the Judgment and Commitment
    12     Order that we filed in the case.
    13                But obviously Mr. Massey has to comply with the
    14     requirements of the SORNA. That's the Sex Offender
    15     Registration and Notification Act that requires him to register
    16     with any state registration agency.
    17                He must successfully complete sex offender diagnostic
    18     evaluations, treatment and counseling programs as directed by
    19     probation while on supervised release.
    20                He must be available and submit to periodic
    21     polygraphic testing if the probation officer wants him to to
    22     ensure that he's complying with supervision and his treatment
    23     goals.
    24                He should not and shall not associate with minor
    25     children under the age of 18 except if another adult is around


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2361       Page 29 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  29

     1     and if the probation officer approves.
     2                 He shall notify anyone that he dates or marries that
     3     has a minor child under the year -- age of 18 of this
     4     conviction.
     5                 And he shall not purchase, sell, view, possess or
     6     look at in any form of media or live venue pornography,
     7     sexually explicit conduct, child erotica and child nudity.
     8     Should not patronize any place where those types materials are
     9     available either.
    10                 Employment must be pre-approved by the Probation
    11     Department.
    12                 Residence must be pre-approved by the Probation
    13     Department.
    14                 And the defendant must provide the probation officer
    15     with accurate information about all of his computer systems as
    16     well as abiding by the rules of the Computer Monitoring Program
    17     of the U.S. District Court's Probation Office here in Eastern
    18     Michigan.
    19                 Mr. Massey must submit his person, residence, office
    20     and vehicle if requested to search by the probation officer if
    21     the probation officer feels there's reason to do that.
    22                 He shall not have contact, directly or indirectly,
    23     with any victim or witness in this case.
    24                 He shall have employment pre-approved by the
    25     Probation Department.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2362       Page 30 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  30

     1                If employment requires use of the computer, he has to
     2     tell his employer about this conviction, and that notification
     3     of the employer has to be confirmed by Probation.
     4                Shall not possess any camera or own any camera,
     5     photographic device or equipment, including video recording
     6     equipment, without prior approval of Probation.
     7                Given the alcohol issue I mentioned before, the
     8     defendant shall not possess or use any alcohol in a consumable
     9     form, nor shall he be in the social company of any person who
    10     he knows to be in possession of alcohol or drugs, illegal
    11     drugs, or frequent an establishment where alcohol is served for
    12     consumption on the premises with the exception of dining
    13     establishments or restaurants.
    14                No new credit charges, no additional lines of credit
    15     giving the -- given the restitution amount.
    16                And access to any requested financial information
    17     must be provided to the probation officer upon asking.
    18                Finally, make monthly installment payments on any
    19     remaining balance of the fine or special assessment. That
    20     payment plan, if there is any, has to be recommended by
    21     Probation and approved by the Court.
    22                That's the sentence that the Court intends to give on
    23     this matter. Any objections, Mr. Mulcahy?
    24                MR. MULCAHY: No, Your Honor.
    25                THE COURT: Mr. Plotkin?


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2363       Page 31 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  31

     1                MR. PLOTKIN: No, Your Honor.
     2                THE COURT: Okay. Without objection, the sentence
     3     that the Court stated earlier will be imposed. The defendant,
     4     Mr. Massey, has waived his right to appeal his sentence. The
     5     reason the waiver of the sentence appeal is valid is because I
     6     sentenced below the guideline range in the case. And the --
     7     the Plea Agreement contemplates as well a waiver of the right
     8     to appeal the entire conviction.
     9                If, Mr. Massey, you think that your waiver is not
    10     valid, you can take that up with the U.S. Court of Appeals
    11     directly, but those things have been found to be valid in the
    12     past.
    13                The defendant will be remanded to the custody of the
    14     marshal to continue the service of his sentence.
    15                The PSR was complete and correct. Final copy will be
    16     sent to the Bureau of Prisons and the Sentencing Commission.
    17     Any other copies are to be kept strictly confidential.
    18                And that's it from here. Anything else from the
    19     lawyers?
    20                MR. MULCAHY: Yes, Your Honor. On behalf of the
    21     United States, pursuant to the terms of the Rule 11 Plea
    22     Agreement, the government moves to dismiss Counts 2, 5, 6, 7
    23     and 8.
    24                THE COURT: Okay. That's -- those are dismissed
    25     without objection on order of the Court.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2364       Page 32 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  32

     1                Anything else from Mr. Plotkin?
     2                MR. PLOTKIN: No, Your Honor.
     3                THE COURT: All right. Thank you for your hard work.
     4                Good luck, Mr. Massey, and I hope you get what you
     5     need. And -- and, you know, it's hard for me to say, nobody
     6     likes to do this, but there's some sense where you can redeem
     7     and rebound and I'll pray for that for you, all right?
     8                DEFENDANT MASSEY: Thank you, Your Honor.
     9                THE COURT: All right. Good.
    10                MR. PLOTKIN: Thank you.
    11                THE COURT: All right. You're welcome. Have a good
    12     afternoon.
    13                MR. PLOTKIN: Thank you.
    14                (Proceedings concluded at 12:41 p.m.)
    15                                           _ _ _
    16

    17

    18

    19

    20

    21

    22

    23

    24

    25



                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2365       Page 33 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  33

     1                Detroit, Michigan
     2                Wednesday, July 18, 2018
     3                                           _ _ _
     4                (Proceedings commenced at 12:41 p.m., all parties
     5                present)
     6                THE COURT: Next up?
     7                THE CLERK: Court calls --
     8                THE COURT: Can we take 30-second -- 30-second
     9     recess? I just need something in the back.
    10                THE CLERK: All rise. Court is now in recess. You
    11     may be seated.
    12                (Court in recess at 12:41 p.m.)
    13                (Proceedings resumed at 12:42 p.m.)
    14                THE COURT: You may all be seated.
    15                Do the marshals need to move anyone around or -- no?
    16     Okay. Good. Let's continue.
    17                THE CLERK: Court calls Case No. 17-20632 and
    18     18-20128, United States of America versus William T. Phillips.
    19                THE COURT: You should introduce yourselves.
    20                MS. RUSSO: Good after -- good afternoon now, Your
    21     Honor. April Russo on behalf of the United States.
    22                MS. DWYER: Your Honor, good afternoon. Lisa Dwyer
    23     appearing on behalf of William Phillips.
    24                THE COURT: Welcome. And you're right, you did
    25     introduce yourselves earlier so my error.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2366       Page 34 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  34

     1                Mr. Phillips, we are here for sentencing on two
     2     cases, and I believe there's a report which is fairly identical
     3     on -- on both cases. Have you had an opportunity to read over
     4     both of those with your lawyer and to understand what's in
     5     there and lodge any objections?
     6                DEFENDANT PHILLIPS: Yes, Your Honor.
     7                THE COURT: Okay. Very good. With regard to
     8     17-20632, that's the case that we've been dealing with for the
     9     past couple of days, there's one objection by Mr. Phillips
    10     regarding 3A1.1(b)(1). That's the vulnerable victim
    11     enhancement of two points which was set forth in paragraph 44.
    12     We had a little argument in another case about whether these
    13     victims were vulnerable yesterday and I -- I -- I -- I -- I
    14     know that's a legal issue that you may want to argue. I
    15     don't -- I don't preclude you from doing it.
    16                But my general sense, Ms. Dwyer, based on the law of
    17     the cases and the undisputed facts here, you've got these minor
    18     children with limited judgment and maturity, and they were in a
    19     vulnerable situation because of the up and down power structure
    20     of the enterprise and the computer communications had. But
    21     again, that's my sense. If you'd like to argue that objection
    22     and say something different, you go right ahead.
    23                MS. DWYER: No thank you, Your Honor.
    24                THE COURT: Okay. All right. Very good. Then the
    25     objection is noted and I will overrule it and find that the


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2367       Page 35 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  35

     1     enhancement, two points under 3A1.1(b)(1), applies, and -- and
     2     go from there.
     3                There are no objections on 18-20128.
     4                And so let me just ask you, Ms. Dwyer, as to both
     5     Pre-Sentence Reports, do you have any further objections,
     6     corrections, other matters you want to take up at this time?
     7                MS. DWYER: None, Your Honor.
     8                THE COURT: Ms. Russo?
     9                MS. RUSSO: Your Honor, the only thing I want to note
    10     is that the defendant, Mr. Phillips, specifically requested we
    11     consolidate these sentencings, and it's to his benefit to do so
    12     in terms of the criminal history points, so I just wanted to
    13     note that that was his request which we've complied with in
    14     doing this hearing.
    15                THE COURT: Well, that's fine with me because at the
    16     end of the day we're talking about 43-I in both cases, and
    17     unremarkably that results in a -- a life sentence, and I don't
    18     really see any need to do any grouping or, you know, criminal
    19     history enhancements, but I'm glad you said that.
    20                And if you don't have any objections, I'll find that
    21     the Offense Level is 43, Level I on both cases. That calls for
    22     a guideline sentence of life in prison. The Plea Agreements in
    23     both cases match up with that. And again, for purposes of this
    24     proceeding, I'll rely on the factual findings of the Probation
    25     Office for the factual conclusions of the Court.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2368       Page 36 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  36

     1                I will tell you it's my intent to enter a sentencing
     2     term in the 17 case and then enter the same term in the 18 case
     3     and make them concurrent. I'm sure you're not surprised by
     4     that. But again, I don't -- to use a term I heard yesterday, I
     5     don't see the need for any additional piling on. But we have
     6     two cases, two enterprises, two sets of circumstances. Mr.
     7     Phillips pled guilty to both of them. We'll sentence on the
     8     overall behavior, but I -- I -- I think in all likelihood the
     9     consolidated term on one would be sufficient to take care of
    10     the other. So that's where we're at, okay?
    11                All right. Very good. Let's move forward a little
    12     bit and for the record state, as I have earlier, that
    13     forfeiture's not going to be an issue in the case because the
    14     parties have agreed not only on a Preliminary -- Preliminary
    15     Order of Forfeiture but in open court yesterday terms of their
    16     agreement that can be memorialized in the Judgment and
    17     Commitment Order.
    18                The defendant is facing a very long sentence and has
    19     minimal financial resources and so therefore I won't impose a
    20     fine or costs of incarceration.
    21                There's a restitution agreement in the amount of
    22     $235,000; that's $5,000 per victim in both cases. And --
    23     and -- and that's another reason, given the amount of the
    24     restitution sum that should go to the victims, why a fine would
    25     not be appropriate.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2369       Page 37 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  37

     1                Victim testimony, impact statements and extensive
     2     victim information was presented yesterday. I don't think we
     3     need to go through that.
     4                There is not a ground for a departure, but I do know
     5     that both the United States and the defendant, of course, are
     6     seeking a variance of some sort; the United States a mild
     7     variance, Ms. Dwyer, a variance to the mandatory minimum.
     8     We'll hear argument on those issues.
     9                And is there anything I'm missing, Ms. Russo?
    10                MS. RUSSO: Just two quick things, Your Honor. This
    11     defendant was not a part of the same two groups as some of the
    12     other defendants. His restitution was therefore a little
    13     higher; it was 320,000.
    14                And the only other thing, Your Honor, is we are
    15     asking for a 5K downward departure in this case as well.
    16                THE COURT: Oh, okay. I didn't know that. That
    17     shows you that I was busy this morning and I didn't review Mr.
    18     Phillips' sentencing memorandum from the United States, but I
    19     have that here and I'll go through that as well. Okay. All
    20     right. Thanks for those corrections. I appreciate that.
    21                Ms. Dwyer on behalf of her client, as she does in
    22     every case, has the right to make any comments or remarks on
    23     behalf of Mr. Phillips as to the -- as to the sentence,
    24     mitigating factors or anything else, and I'd be delighted to
    25     hear from you now. Go right ahead.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2370       Page 38 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  38

     1                MS. DWYER: Thank you, Your Honor.
     2                I'll start with the fact that the government is --
     3     has asked or suggested, and -- and perhaps in some degree they
     4     are correct, that everybody in this conspiracy, or perhaps in
     5     Mr. Phillips' case the two conspiracies, deserves life. And to
     6     show that the 20-year mandatory minimum is only for the least
     7     offender, they've given examples of possible offenders which,
     8     I -- I'm sorry, I don't think they would ever charge with a
     9     child exploitation enterprise. This child exploitation
    10     enterprise, as serious as it was and as serious as Mr.
    11     Phillips' conduct was, his -- there are people in these
    12     enterprises who act and are much worse, for whatever that's
    13     worth, and I'll give you an example.
    14                Though Mr. Phillips had conversations with what --
    15     with a young lady who turned out to be 11 years old, and though
    16     he engaged with individuals who were very damaged and
    17     vulnerable to him, and from what I understand, one of them
    18     attempted suicide and possibly more, however, what he didn't do
    19     personally was blackmail these girls into taking their clothes
    20     off or to showing or masturbating like -- like many of the
    21     other co-conspirators did do.
    22                He did not threaten them to put -- post their videos
    23     online if they didn't continue doing what he asked.
    24                He never threatened to expose them to their parents.
    25                He never shared his videos. He never shared his


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2371       Page 39 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  39

     1     content with anyone. He nev -- this Court can be rest assured,
     2     and I hope the victims are too, when it comes to Mr. Phillips,
     3     whatever content, whatever recordings he had on his computer
     4     were never made into videos and were never shared.
     5                The -- there were creators of these sites who Mr.
     6     Phillips informed on, people who made the rules and -- and
     7     actually were responsible for hunting the girls, and Mr.
     8     Phillips was not that person.
     9                I will say this. And he fully recognizes that the
    10     fact that he participated in these groups, that he encouraged
    11     others to do those other things, and that's true. But when it
    12     comes to comparing this group to a gang, I would liken it more
    13     to a cult because I think the Court made an interesting comment
    14     that I would agree with, that once people are in this, they
    15     don't seem to be able to get out of it emotionally,
    16     psychologically, mentally, and I do think it's more like a
    17     cult.
    18                But using the -- the comparison to RICO, if this were
    19     a RICO conspiracy and Mr. Phillips had given up information on
    20     both named co-conspirators and unnamed co-conspirators who were
    21     certain to be arrested or tracked down soon based on the
    22     information he's given to them, that giving those information
    23     about people who are higher up the chain than him on at least
    24     nine search warrants the government has acknowledged in
    25     complaints, to have similar information he gave was used I'm


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2372       Page 40 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  40

     1     positive, his testimony, in the grand jury, you know, these are
     2     situations where the government would be making a
     3     recommendation based on that nature of cooperation.
     4                And the reason this is so important is because Mr.
     5     Phillips took active measures that shut down the entire second
     6     conspiracy, the Bored Group, the 18 case. Each of those
     7     co-defendants, Christian Maire, Arthur Simpatico, Jonathan
     8     Rodriguez, Michael Figura, Odell Ortega, Rex Sinta, Caleb
     9     Young, Daniel Walton, it was -- he was involved with their
    10     arrest and their searches, and they were brought in very
    11     quickly thanks to the information he provided. So the nature
    12     of his cooperation shouldn't -- can't be underestimated in its
    13     import.
    14                The other thing I wanted to point out, preempting
    15     some of the government's comments since I go first, the Bored
    16     Group wasn't really outlined in their sentencing memorandum in
    17     terms of the content on their computers and the nature of their
    18     images and even the roles of those defendants because it was
    19     believed that, you know, Christian Maire was developing these
    20     onsite -- these -- these actual chat rooms or that, yeah, Mr.
    21     Simpatico actually developed these sites and the rules.
    22                That Mr. Phillips when he was first detained in New
    23     York, he cooperated, and it took 41 days to get him to Michigan
    24     where he could resume his cooperation. After cooperating in
    25     Michigan here in September, the first arrest based on


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2373       Page 41 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  41

     1     information that he provided was I believe in October. If
     2     those 41 days had not been there, the time it took to transport
     3     him, the Bored Group would have been shut down faster and
     4     locations of these individuals, the identifying information
     5     would have been brought to agents' attention sooner and could
     6     have resulted in a quicker shutdown of that group. And it
     7     should be noted that at the time that Mr. Phillips was
     8     answering questions regarding the Bored Group, though it was on
     9     their radar, he was really filling in a lot of the blanks.
    10                So then he's charged in the second conspiracy that at
    11     the same time he was instrumental in bringing down is -- is I
    12     think extremely relevant to the nature of his cooperation.
    13     There are individuals in this 18 case that were involved in
    14     this 17 case that hadn't been charged in the 17 case, and I
    15     think that's relevant too in terms of disparities between
    16     defendants.
    17                The -- what we do know about the content of some of
    18     the other individuals is that Mr. Phillips, hundred percent of
    19     computer forensics team completed on his computer versus the
    20     small percentages, 5.5 percent on Mr. Kovac's or 18.2 percent
    21     on Mr. Robinson's, his contact -- his content shrinks in
    22     comparison, and -- and -- and that's with full -- full
    23     forensics done on his computer versus the small percentages on
    24     some of these co-defendants, and theirs exceeds multiple times
    25     what Mr. Phillips had. It's hard to know how much more excess


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2374       Page 42 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  42

     1     there would be if they had a hundred percent of their forensic
     2     reports done.
     3                We don't have that for the Bored Group. We can't --
     4     I can't say to you, Judge, look at what Christian Maire did,
     5     look at what Mr. Simpatico did. But I'm asking you to consider
     6     that though that information isn't provided to you, that that
     7     group, bringing that group down was as important as bringing in
     8     this first group that Mr. Phillips was caught up in.
     9                And it's hard to accept a recommendation of 30 years
    10     based on that and based on his role in these groups, though
    11     like I said, his participation in this enterprise of course
    12     encouraged others to go further than he did.
    13                I'd also like to note that -- and I sort of lightly
    14     touched on it, that because of the nature of Mr. Phillips'
    15     cooperation and the fact that he gave information regarding
    16     unnamed co-conspirators that are still under investigation is
    17     reason to believe that there will be ongoing arrests based on
    18     that information, which the Court will likely not see or hear
    19     about because he will have already been sentenced.
    20                Mr. Phillips, about him, the character letters that
    21     he submitted, 36 total letters of 35 people, I thought what was
    22     really important about each of these letters is that they, each
    23     person knew the circumstances of Mr. Phillips' conviction and
    24     they still wrote on his behalf, Your Honor, because they had
    25     the benefit of the memories of Mr. Phillips before this


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2375       Page 43 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  43

     1     happened to him or he happened to it, the -- the letters of
     2     people who have known him as coach, people who have known him
     3     as friend, people who have known him as family and people who
     4     have known him in the community. And it's so rare that a sex
     5     offender is even welcome into a community, much less being
     6     welcomed back into the community with open arms on such a
     7     serious crime.
     8                Each of these individuals collected roughly a hundred
     9     dollars each and -- and sent in two checks totaling $4,000.
    10     And it's humble, the $4,000, it is, but it's an indication and
    11     expression of their sadness for the victims as well as an
    12     investment in this man and to show this Court their belief in
    13     his -- his redemption.
    14                Mr. Phillips has attempted, you know, in his own way
    15     to rehabilitate this past year not only by his full cooperation
    16     and disclosure to the government and absolute willingness to
    17     constantly write me with any detail he could remember, often
    18     several details that would be passed on with each letter to the
    19     government.
    20                These -- the other structured rehabilitation was the
    21     reading, was the taking on, you know, taking on and absorbing
    22     reading in a way to regain empathy or regain life, if you will.
    23     The -- I'm an English major. I know what the power of reading
    24     can be.
    25                THE COURT: You're a what?


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2376       Page 44 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  44

     1                MS. DWYER: I'm an English major.
     2                THE COURT: Oh, okay.
     3                MS. DWYER: I know the power of reading, and I know
     4     that before we had counseling and all these other things, there
     5     were books and books could help people, and Mr. Phillips did
     6     what he could, and what he had were books and those books made
     7     an impression on him.
     8                THE COURT: Right.
     9                MS. DWYER: And he has regained that empathy.
    10                I think in the beginning you -- it's so hard to work
    11     your way toward that when the first thing that's flashing
    12     across everyone's eyes are, "What about my life?" But this is
    13     not about Mr. Phillips' life, it's about these young ladies,
    14     and he has empathy for that.
    15                I know yesterday that the government made a comment
    16     about the show of remorse, and I would just say that everybody
    17     grieves differently, that crying or not crying is not an
    18     indication of someone's true remorse. There's a lot of reasons
    19     people can cry.
    20                THE COURT: Right.
    21                MS. DWYER: You know. And I just -- I want the Court
    22     to take that in consideration.
    23                Also Mr. Phillips is a Criminal History Category I
    24     despite the ongoing --
    25                THE COURT: You'd be surprised how many people come


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2377       Page 45 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  45

     1     in here and cry and it's ridiculous.
     2                 MS. DWYER: Right.
     3                 THE COURT: Okay. Go ahead.
     4                 MS. DWYER: Thank you, Your Honor.
     5                 THE COURT: Yeah.
     6                 MS. DWYER: He has a true Criminal History Category
     7     I, and I would like you to take that into consideration despite
     8     the fact that this is an ongoing crime.
     9                 And finally, Mr. Phillips is asking to be designated
    10     in a facility in New York near where he resides or his family
    11     resides, which would be either Otisville or Danbury if
    12     possible.
    13                 THE COURT: Okay. All right. Very good. All right.
    14     Thank you very much, Ms. Dwyer, for those remarks.
    15                 Mr. Phillips, you have the opportunity to speak now
    16     on your own behalf as to the appropriate sentence. Anything
    17     else you'd like the Court to know, go right ahead.
    18                 DEFENDANT MASSEY: Thank you, Your Honor.
    19                 I spent the whole night writing this down and then I
    20     get up here and I don't know if I want to go word for word
    21     because there's just so much going on in my head right now.
    22                 Before anything, nothing can change what happened. I
    23     caused a lot of damage. I got involved. It is nobody else's
    24     fault but my own. I started that. I am so sorry to every
    25     person that got hurt.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2378       Page 46 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  46

     1                Yesterday I heard some things and I was like I didn't
     2     take part of that and I naturally was to defend myself. And
     3     then I thought about it and I'm like, you know, I didn't take
     4     part in some of those things, but I am -- just being there
     5     alone enabled that and I'm to blame for that, and that caused
     6     exponential damage, that's -- that's it. I did that, it was my
     7     fault.
     8                So that's the first thing I want to say is that I am
     9     truly sorry for that to all the victims, even the ones that had
    10     been victimized in a similar crime, that -- that I -- I feel
    11     for them, I'm so sorry.
    12                I want to say that I told my family not to come.
    13     Between an aging mother, a sister and a couple cousins with
    14     younger kids, I did not want to put that financial strain on
    15     them so I told them not to come. I could guarantee if this
    16     case was in New York, this courthouse would be full. The
    17     support I've gotten you've heard, I'm -- I'm shocked, people
    18     coming out of the woodworks, people who know me, it's
    19     unbelievable, every day.
    20                I do want to thank Ms. Russo and Special Agent
    21     Christianson. He took me out of hell.
    22                I -- I made it -- a little Alice in Wonderland
    23     reference because she said I -- all I've been doing is reading
    24     and reading, anything non-fiction or any classic I just want my
    25     hands on. I followed a white rabbit down a horrible rabbit


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2379       Page 47 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  47

     1     hole. Both Alice and I chose to do that. The rabbit may have
     2     told -- brought me to the white -- to -- to the hole, but I
     3     went down it. Instead of creating a wonderland, I created a
     4     hell, not just for me, for other people. Instead of a dodo
     5     bird and a Cheshire cat, there were creeps and fools and this
     6     white rabbit continually showing you different places.
     7                He got me out of hell when he -- he made me realize
     8     what I was doing was just -- I was in the wrong spot, I was
     9     doing wrong things. And because of him and Ms. Russo, eight
    10     people are in custody, content is taken off the Internet. I
    11     helped reverse this.
    12                I'm not proud of what I did obviously by any stretch
    13     of the imagination. But, Your Honor, last time we had -- when
    14     I was in your courtroom for the Plea Agreement, I was a nervous
    15     wreck. The last Plea Agreement I walked in and I sat down and
    16     this moment came on, said, "You helped -- you brought eight
    17     people in, you helped save more people."
    18                Can't change what I did, Your Honor. I can't change
    19     the damage I've done. But you know what? I made a step in
    20     that direction. And -- and that's just the beginning, that is
    21     the beginning.
    22                I don't know, I -- I could be here forever, I could
    23     go on forever. So again, I'm sorry for everything I've done.
    24     It's not who I am, and I hope through my character letters you
    25     can see I hopefully stand out from everybody else. I -- I can


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2380       Page 48 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  48

     1     make a difference, Your Honor.
     2                THE COURT: Very good.
     3                DEFENDANT PHILLIPS: Thank you.
     4                THE COURT: All right. Thank you, sir. Appreciate
     5     those remarks.
     6                And I would note appended to Ms. Dwyer's sentencing
     7     memorandum were a number of fairly remarkable written products
     8     from family members, cousins, sisters, customers, business
     9     partners, and I did read all those so I -- I recognize there is
    10     a high level of family and other support here and that was good
    11     to see.
    12                Now, with that in mind, the U.S. Attorney has the
    13     right to speak on behalf of the People of the United States.
    14     Ms. Russo, I'm sure you would like to give your presentation as
    15     to the appropriate sentence and mitigating factors or any other
    16     factors and you can do that now.
    17                MS. RUSSO: Yes, Your Honor.
    18                I would like to incorporate the -- the victims'
    19     statements, Exhibits A through H, and those things, Your Honor,
    20     as well as there was an in camera statement from a father of a
    21     parent as to this defendant that the Court has heard.
    22                With respect to Mr. Phillips, Your Honor, one thing
    23     that I don't disagree with Ms. Dwyer or Mr. Phillips about is
    24     that his cooperation was significant. Mr. Phillips is one of
    25     the most culpable individuals in both of these groups, and I'm


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2381       Page 49 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  49

     1     going to spend most of the time talking about the Bored Group
     2     because that's really the group that he was most significantly
     3     involved in.
     4                But Mr. Phillips did meet with us immediately in
     5     order to cooperate, and while we had potential locations on
     6     these other individuals in his group that he was a part of, the
     7     Bored Group, and while we most likely would have executed
     8     search warrants there, he expedited that process significantly
     9     by cooperating.
    10                And that is important, Your Honor, because a lot of
    11     the defendants, and I'm going to get into the Bored Group a
    12     little in a minute, in the Bored Group were quite savvy. And
    13     there was a -- there was actually an article that went out on
    14     Website A in May of 2017, and defendants in the Bored Group
    15     were drilling through their hard drives, they were getting rid
    16     of their computers, and so the sooner we got to their houses,
    17     the better it was in terms of our investigation and the
    18     evidence that was to be recovered. So he got us there faster
    19     and -- and I'm appreciative of that. He didn't shut down the
    20     Bored Group, that's going too far to say that, but he got us
    21     there faster.
    22                With respect to the nature and circumstances of this
    23     offense, Your Honor, really you have to understand Mr.
    24     Phillips' role in the Bored Group to understand this offense.
    25     And if the Skype Group -- these two groups referred to


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2382       Page 50 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  50

     1     themselves as teams. So if the Skype Group is a junior varsity
     2     baseball team, the Bored Group was the varsity team. They are
     3     more dangerous and their offense conduct is more serious. And
     4     I know Your Honor is -- has a number of these defendants but
     5     Mr. Phillips is the first one to be sentenced in this group.
     6                Their conduct began in around 2011 and 2012, and they
     7     were on another website, Your Honor, and they were targeting
     8     girls on that website, and certain of the people on that
     9     website would get points. Every time they talked to a girl to
    10     get her to engage in sexual activity or they looped to a girl
    11     to get her to engage in sexual activity, they would get points.
    12                And the people that got the most points were invited
    13     to a VIP room on this website. And the Bored Group came from
    14     this VIP room because certain people in that VIP room were not
    15     satisfied with just targeting girls. They wanted to target
    16     underage girls, girls under the age of 18, and so they migrated
    17     to Website A to do that. And so the best of these people at
    18     talking to girls and getting them to engage in sexual activity
    19     and looping to girls, the VIP people went to this other
    20     website.
    21                And that is why, Your Honor, that you should expect
    22     that we will be asking for life sentences for several of the
    23     Bored Group members and certainly for life equivalent sentences
    24     for those that we don't ask for life for because this is such a
    25     sophisticated group. They're higher income. They -- almost


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2383       Page 51 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  51

     1     all of them had children. Almost all of them are married.
     2     They are smart enough not to --
     3                THE COURT: Okay. Well, we'll get to that when --
     4     when --
     5                MS. RUSSO: Sure.
     6                THE COURT: Well, no, I suppose it's -- it's
     7     appropriate to let me know about Mr. Phillips' involvement, but
     8     those other folks, I -- I think we can dispense with their
     9     activities because we're not going to sentence them right now.
    10                MS. RUSSO: Right.
    11                THE COURT: Thank you.
    12                MS. RUSSO: But one thing that Ms. Dwyer had said,
    13     Judge Murphy, which is why I was sort of going into this a
    14     little bit, is she had said look at the numbers of child
    15     pornography videos and images on Mr. Phillips' devices.
    16     There's so much less than these other people in the Skype
    17     Group.
    18                THE COURT: Right.
    19                MS. RUSSO: And to understand that, you really have
    20     to understand the Bored Group because all of the numbers for
    21     these Bored Group defendants are going to be significantly less
    22     because they were sophisticated and smart enough to know not to
    23     save recordings or to have wiping software on their computers
    24     or to discard their laptops on a regular basis.
    25                And that's what Mr. Phillips did. He dumped his


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2384       Page 52 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  52

     1     laptop early in 2015 and then he discarded another laptop a
     2     year before he was caught by the FBI. So the laptop that was
     3     analyzed for purposes of this case had only a year's worth of
     4     content on it and so that's why you're not seeing those high
     5     numbers for Mr. Phillips or for other Bored Group members.
     6     And, of course, many of them, like I said, also got rid of
     7     evidence as well.
     8                 THE COURT: Okay.
     9                 MS. RUSSO: So with respect to some of the tactics
    10     that were used by Mr. Phillips in this group that he was a part
    11     of, the Bored Group, I won't go into detail about all of them,
    12     but one of them that I attached several exhibits related to is
    13     the trust sessions and the polls. These tactics are -- are
    14     different from the Skype Group. The polls are something that
    15     the Bored Group typically did where they would have everybody
    16     vote to have a girl take off her shirt, and then they would
    17     tell the girl, "Look, everybody voted for you to take off your
    18     shirt so you have to do it." And they would do -- they would
    19     do successive polls to get the girls to engage in sexual
    20     activity.
    21                 Trust sessions are when a girl was suicidal or
    22     depressed, they would have what they call trust sessions to
    23     build her trust so that she would then engage in sexual
    24     activity for them. And there's exhibits that are attached to
    25     our memo as well that give examples of trust sessions.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2385       Page 53 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  53

     1                 So Exhibit C-1, in that exhibit the minor says she
     2     has anorexia and bulimia and that she cuts and burns herself,
     3     and then the group goes on to build her trust and then asked
     4     her to engage in sexual activity.
     5                 Exhibit D involves a minor who's 13 years old who
     6     this defendant in this chat and other defendants find out that
     7     she has a lot of anxiety and that she's thinking about quitting
     8     dance, and they joke about how then she'll have more time to
     9     engage in masturbation and they get her to engage in sexual
    10     activity.
    11                 Exhibit C-2 is similar. It's a minor who says it's
    12     her sixth day having gone without eating but she accidentally
    13     ate fries that day, and they do a series of polls on that girl
    14     to get her to engage in sexual activity.
    15                 So these are some of the quotes from these girls
    16     about their -- the struggles that they're facing before they're
    17     asked to engage in sexual activity.
    18                 This is one of the polls that I have up here on the
    19     PowerPoint where one of the group members runs this poll and
    20     then they say, "Look, everybody says you should take off your
    21     shirt so you should take it off." The poll is complete.
    22     You've got to follow it because that's what it says to do.
    23                 So this particular defendant, Your Honor, is -- like
    24     I said, stands out in terms of his culpability for a couple of
    25     reasons. You heard yesterday about the different roles that


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2386       Page 54 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  54

     1     each of those defendants played. This defendant was not just a
     2     talker; he was a hunter and a looper as well as a talker. That
     3     is different from all the defendants you heard about yesterday.
     4                This defendant was specifically in charge for the
     5     Bored Group of getting girls into the group so that they could
     6     be targeted for sexual activity. He specifically hunted Minor
     7     Victim 1 in the Bored Group or Minor Victim 12 in the Skype
     8     Group. She's a victim of both groups. She's the one that you
     9     had heard from a father of her, Your Honor. And he was
    10     responsible for bringing her into the group.
    11                She believed that he was her boyfriend. They carried
    12     on a relationship from June of 2015 to February of 2017, and
    13     she told him at one point that every conversation they had was
    14     sexual and she didn't understand that because she believed him
    15     to be a 17-year-old boy, that's who she thought she was
    16     communicating with.
    17                And as Your Honor heard, this has completely wrecked
    18     the family of this young girl who resides in the Eastern
    19     District of Michigan, and it has caused significant harm and
    20     trauma to the family of this then 14-year-old girl when Mr.
    21     Phillips first hunted her for the group. And she did come to
    22     the group and she did engage in sexual activity for the group
    23     numerous times because of Mr. Phillips.
    24                MV-25, Your Honor, is this 11-year-old girl who he
    25     told he would never cheat on her, that he was in love with her,


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2387       Page 55 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  55

     1     that he was 17. This girl, when Mr. Phillips stopped talking
     2     to her, started cutting herself and told Mr. Phillips and the
     3     guys -- she pretended to be a friend of hers and went online
     4     and told Mr. Phillips, "Hey, I'm cutting myself. I -- this
     5     friend of yours is cutting herself, you should talk to her."
     6                She also talked about how her sister had attempted
     7     suicide and how she understood why her sister had attempted
     8     suicide because she didn't feel that there was a reason for her
     9     to live anymore.
    10                Those are just two of the victims that Mr. Phillips
    11     acted as the boyfriend of.
    12                THE COURT: What -- what was the identifier you had
    13     before MV-25, who -- who was that?
    14                MS. RUSSO: Your Honor, that was MV-1 for the Bored
    15     Group, but she's also a victim in the Skype Group and she's
    16     MV-12 in the Skype Group.
    17                THE COURT: All right.
    18                MS. RUSSO: This is the girl from Michigan.
    19                THE COURT: Okay. Thank you. Go ahead.
    20                MS. RUSSO: That's all I'm going to say about in
    21     terms of his culpability and the conduct there, Your Honor. I
    22     just -- he is one of the most culpable of these offenders.
    23                With respect to the history and characteristics of
    24     this defendant, the only thing I wanted to point out there,
    25     Your Honor, is that in his letter, which is very moving I felt,


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2388       Page 56 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  56

     1     but in the letter Mr. Phillips says that his business in 2016
     2     fell apart and that's why he started doing this, Your Honor.
     3     That's just not true. Mr. Phillips started doing this in 2012
     4     which was four years before his business fell apart. So to
     5     blame his business falling apart on this conduct and say that
     6     that's what excuses it isn't believable for the government.
     7                I agree that he has a huge amount of family support
     8     and I find it remarkable that everyone got together to pay
     9     restitution, but that's really something that speaks to Mr.
    10     Phillips' family and friends rather than Mr. Phillips'
    11     character himself since they had no idea that he was living
    12     this life and doing these things.
    13                Finally, Your Honor, I'll just say as a last point
    14     here, when we think about protection of the public with respect
    15     to this defendant, truly he has torn apart the lives of those
    16     girls that believed they were dating him. He had personal
    17     contact with them that impacted them enormously and impacted
    18     their families enormously, and I've given you just two examples
    19     of many girls, and you heard the enterprise's overall impact on
    20     numerous other victims, Your Honor, who he also had a part in
    21     targeting.
    22                And so I would ask that you honor the government's
    23     recommendation and that you sentence Mr. Phillips to 30 years.
    24                THE COURT: All right. Thank you very much. I
    25     appreciate the argument and the thought and effort that went


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2389       Page 57 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  57

     1     into it.
     2                I am going to grant the government's motion for a
     3     downward departure under 5K1.1 of the sentencing guidelines.
     4                My -- why don't I speak to -- well, I'll speak to
     5     both cases in a consolidated fashion, and as I stated earlier,
     6     my -- my sentence was intended to be concurrent in both cases.
     7     Life is the guideline in both and the departure decision will
     8     fall from there.
     9                So I'm going to talk about 3553(a), the cooperation,
    10     and impose the -- or at least state the sentence I intend to
    11     impose and then give both lawyers an opportunity to object.
    12                We have two serious cases involving potential life
    13     sentences with scads of -- of victims and involvement spanning
    14     three years' time. And even in the worst case yesterday
    15     involving one of the cases which I suppose Ms. Russo is
    16     referring to now as the Skype Group, the highest government
    17     sentence recommendation was 600 months. I recall the young man
    18     from Arkansas who was in his early 30s and who I had some
    19     serious concerns about and I gave a sentence of 41 years which
    20     I thought to be appropriate.
    21                Mr. Phillips is 39 and the government indicates he is
    22     among the most culpable of the individuals involved in two
    23     separate groups and should be, for the protection of the public
    24     I believe, incarcerated in a similar manner which would take
    25     him up to his -- roughly his 79th birthday if I were to impose


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2390       Page 58 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  58

     1     a -- a sentence of 480 months, which I believe to be, in -- in
     2     good sense if I didn't want to give a life sentence, to be the
     3     appropriate term in this particular case.
     4                The government urges a sentence of ten years below
     5     that of 360 months and a 30-year term on both cases because of
     6     the cooperation of the defendant in identifying the members of
     7     the -- the second group. And like Ms. Russo and Mr. Mulcahy, I
     8     agree that Mr. Phillips should get credit for the substantial
     9     assistance that he provided in identifying and, as he said,
    10     bringing in eight people in the second group.
    11                Moreover, I am taken greatly with the family support,
    12     the letters and especially the involvement of Mr. Phillips'
    13     mother who I've never met but -- but from all indications is
    14     a -- a very, very fine person and obviously quite committed to
    15     the wellness of her son.
    16                All that being said, this is one of the rare moments
    17     when I cannot go along with the government's recommendation
    18     because I think it is too steep. I think that seven years of
    19     credit as opposed to ten would not only give him more
    20     consideration than Mr. Massey got for his information that led
    21     to the prosecution of many of the people in the 17 or the Skype
    22     case, but would also incentivize other people to cooperate in
    23     the future, to reward him for the work that he did, but to
    24     still, in my view, penalize, punish, keep safe people who --
    25     who are subject and victim to this behavior that many people


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2391       Page 59 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  59

     1     would probably feel there should be no release whatever for.
     2                I think that I for a couple of weeks now frankly when
     3     I first got the probation reports have struggled with where to
     4     come down, and my sense tells me that 396 months or seven
     5     years -- excuse me, 33 years for this criminal activity in two
     6     cases involving numerous defendants and victims along with the
     7     significant cooperation and rehabilitation efforts that he has
     8     is the appropriate sentence in the case.
     9                Therefore, pursuant to the Sentence Reform Act of
    10     1984, having considered the sentencing guidelines and factors
    11     in 3553(a) that I just went over, hereby commits the defendant,
    12     William Phillips, to the custody of the Bureau of Prisons for a
    13     term of 396 months.
    14                I recommend strongly that the defendant be designated
    15     to an institution with a comprehensive sex offender treatment
    16     program, and I also recommend that he be housed in the State of
    17     New York close to his family as Ms. -- Ms. Dwyer urged me to
    18     do.
    19                Upon release from imprisonment, the defendant shall
    20     be placed on supervised release for a term of five years.
    21                It's further ordered that the defendant pay a special
    22     assessment of a hundred dollars which will be due immediately.
    23                It's ordered that the defendant pay a Justice For
    24     Victims of Trafficking Act assessment of $5,000.
    25                And I'm aware that the parties have agreed to a


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2392       Page 60 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  60

     1     restitution amount of $5,000 per identified victim. In that --
     2     in this case that leads to a payment of $330,000 I think you
     3     said?
     4                MS. RUSSO: 320, Your Honor.
     5                THE COURT: $320,000. That will be the restitution
     6     amount. No interest, penalty or fee on that amount.
     7                No fine, no costs of incarceration, no costs of
     8     supervision due to the defendant's lack of financial resources.
     9                In custody Mr. Phillips must participate in the
    10     Inmate Financial -- excuse me, Inmate Financial Responsibility
    11     Program, IFRP. I'm aware of the requirements of that program
    12     and approve the payment schedules of the program and hereby
    13     order the defendant's compliance.
    14                Mandatory drug testing will be suspended because I do
    15     not believe that Mr. Phillips poses a high risk of future
    16     substance abuse.
    17                While on supervision the defendant shall abide by the
    18     standard conditions adopted by the U.S. District Court for the
    19     Eastern District of Michigan and he shall comply with the
    20     following additional special conditions:
    21                Number one, register as a sex offender pursuant to
    22     the SORNA, 42 USC, Section 16901.
    23                Successfully complete any sex offender diagnostic
    24     evaluations, treatment and polygraph examinations ordered by
    25     the probation officer.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2393       Page 61 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  61

     1                Submit to periodic polygraphic testing at the
     2     discretion of the probation officer to ensure compliance with
     3     supervision.
     4                Do not associate with minor children under the age of
     5     18 except in the presence of a responsible adult and with the
     6     approval of the probation officer.
     7                Notify anyone that they date or marry -- excuse me,
     8     notify, the defendant, anyone that he dates or marries with a
     9     minor child under the age of 18 of his conviction.
    10                Do not purchase, sell, view, possess or use any
    11     images in any form whatsoever of pornographic depictions,
    12     sexually explicit conduct, child erotica or child nudity.
    13                Obtain employment pre-approved by the Probation
    14     Department.
    15                Have all residences approved by the Probation
    16     Department.
    17                And participate in the Computer/Internet Monitoring
    18     Program administered by the U.S. Probation Department.
    19                Submit, Mr. Phillips shall, submit his person,
    20     residence, office, vehicles and papers to a search if the U.S.
    21     Probation Department believes that there is reasonable cause of
    22     contraband or evidence that might result in a violation of --
    23     of supervision.
    24                No contact, directly or indirectly, with any victim
    25     or witness in the case.


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2394       Page 62 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  62

     1                Mental health issues are noted and we've addressed a
     2     couple of them. So therefore on pre-sentence -- excuse me, on
     3     post-trial -- post-sentence release, the defendant shall submit
     4     to psychological and psychiatric evaluations as directed by the
     5     probation office.
     6                He must participate in a program approved by the
     7     Probation Department for mental health counseling.
     8                And he has to take all medications prescribed by a
     9     physician whose care he is under. That would include a
    10     psychiatrist and that would also include the dosages and the
    11     times recommended.
    12                The restitution order is large. Therefore, Mr.
    13     Phillips shall not enter any new credit arrangements, charge
    14     anything on a credit card or open additional lines of credit.
    15                He must provide the probation officer access to any
    16     requested financial information.
    17                And he must make monthly installments on any
    18     remaining balance of the fine or special assessment.
    19                The sentence on Case No. 18-20128 will encompass the
    20     same terms, which is to say 396 months, identical circumstances
    21     in terms of placement and post-trial release, and I will make
    22     those two sentences concurrent in both cases so that the
    23     overall term of incarceration will be 396 months.
    24                I don't think I have anything else so I will ask Ms.
    25     Dwyer whether or not she has any objections to the sentence we


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2395       Page 63 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  63

     1     intend to give.
     2                MS. DWYER: No, Your Honor.
     3                THE COURT: Ms. Russo?
     4                MS. RUSSO: I don't, Your Honor.
     5                THE COURT: Okay. Without objection, the sentence
     6     that I stated earlier will be imposed.
     7                Mr. Phillips, your right to appeal was waived as part
     8     of your Plea Agreement. That means your conviction is not
     9     appealable. Your sentence would seem to be without appeal as
    10     well since I gave a sentence below the guideline range.
    11                Those waivers are usually enforceable. If you don't
    12     believe yours is, you can take that up directly with the Court
    13     of Appeals.
    14                The defendant will be remanded to the marshal's
    15     custody for service of his sentence.
    16                Both parties have copies of the Pre-Sentence Report
    17     and complete, corrected copies will be sent down to the Bureau
    18     of Prisons and the Sentencing Commission.
    19                Before we finish, I've given my regard to the United
    20     States Attorney for their work in the case and I've informed
    21     each and every lawyer of our great appreciation for your hard
    22     work. That goes no less for Ms. Dwyer than anybody else. We
    23     appreciate your work on behalf of the clients and your great
    24     service to the Court.
    25                I would like to say something about Ms. Danysh who is


                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2396       Page 64 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  64

     1     in court here today. She's the probation officer and she did
     2     seven extensive Pre-Sentence Reports and has been with us
     3     yesterday and today, and on behalf of our judicial officers, I
     4     would like to thank you and your colleagues for your continued
     5     support in our efforts.
     6                Mr. Phillips, I find you, without the circumstances
     7     of this offense, to be a person who obviously has a lot of
     8     family and friend support. You've got a lot of people out
     9     there. There's still time. I'd urge you to do your best in
    10     the intervening years and I wish you the best of luck, okay?
    11                All right. Very good. Anything else from anybody
    12     else?
    13                MS. RUSSO: Only dismiss counts in both cases, Your
    14     Honor, at this time. In the 17-20632 case, I will dismiss
    15     Counts 2, 5, 6, 7 and 8 pursuant to the Plea Agreement. And in
    16     the 18-20128 case, I will dismiss Counts 2, 3, 4, 5, 6, 7, 8, 9
    17     and 10 against Mr. Phillips.
    18                THE COURT: Okay. Those will all be dismissed
    19     without objection and we'll be in recess now.
    20                THE CLERK: Court is now in recess.
    21                (Court in recess at 1:35 p.m.)
    22                                            _ _ _
    23

    24

    25



                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
Case 2:17-cr-20632-SJM-DRG ECF No. 157 filed 08/21/18           PageID.2397       Page 65 of 65
                                   Sentencings • Wednesday, July 18, 2018
                                                                                                  65

     1                              C E R T I F I C A T I O N
     2                I, Linda M. Cavanagh, Official Court Reporter of the
     3     United States District Court, Eastern District of Michigan,
     4     appointed pursuant to the provisions of Title 28, United States
     5     Code, Section 753, do hereby certify that the foregoing pages 1
     6     through 64 comprise a full, true and correct transcript of the
     7     proceedings held in the matter of United States of America vs.
     8     D-3 Bret Massey and D-5 William Phillips, Case Nos. 17-20632
     9     and 18-20128, on Wednesday, July 18, 2018.
    10

    11

    12                          s/Linda M. Cavanagh             _____
                                Linda M. Cavanagh, RDR, RMR, CRR, CRC
    13                          Federal Official Court Reporter
                                United States District Court
    14                          Eastern District of Michigan
    15

    16

    17     Date: August 18, 2018
           Detroit, Michigan
    18

    19

    20

    21

    22

    23

    24

    25



                          USA v D-3 Bret Massey and D-5 William T. Phillips • 17-20632
